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 2                                                 November 7, 2020

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 9                         UNITED STATES DISTRICT COURT
10                       CENTRAL DISTRICT OF CALIFORNIA
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12     ANTHONY BOUYER, an                   Case No. 2:20-cv-04696-SB-JPR
13     individual,

14                                              ORDER DISMISSAL WITH
       Plaintiff,                               PREJUDICE
15
       v.
16

17     ARTURO RUBINSTEIN,
       individually and as trustee of THE
18     ART RUBINSTEIN FAMILY
19     TRUST DATED APRIL 11,
       2013; and DOES 1-10, inclusive,
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21     Defendants.
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                                 [PROPOSED] ORDER
                             DISMISSAL WITH PREJUDICE
     Case 2:20-cv-04696-SB-JPR Document 25 Filed 11/07/20 Page 2 of 2 Page ID #:78


 1         After consideration of the Joint Stipulation for Dismissal of the entire action

 2   with Prejudice filed by Plaintiff Anthony Bouyer (“Plaintiff”) and Arturo Rubinstein
 3
     (“Defendant”), the Court hereby enters a dismissal with prejudice of Plaintiff’s
 4

 5   Complaint in the above-entitled action, in its entirety. Each party shall bear his or its

 6   own costs and attorneys’ fees.
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 8         IT IS SO ORDERED.
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     DATED: November 7, 2020
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12
                                                Stanley Blumenfeld, Jr.
13                                            United States District Judge
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                                  [PROPOSED] ORDER
                              DISMISSAL WITH PREJUDICE
